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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
Claire R. Kelly
    Judge



                                                             March 15, 2018

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      Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
             Case No. 14-cv-02302

Dear Counsel:

      In reviewing the parties’ exhibits, the court has noticed two issues that the parties
must address by the pretrial conference on Monday, March 19, 2018:

      1. The exhibits DX-66 and DX-67 were not correctly included in the copies of the
         exhibits provided by the parties. The Joint Pretrial Order provides that DX-66 is
         a Grievance dated February 24, 2016, and DX-67 is a Grievance Denial dated
         March 28, 2016. Proposed Joint Pretrial Order at 36, Nov. 7, 2017, ECF No.
         94. However, the document included in the exhibits as DX-66 is actually the
         March 28, 2016 Grievance Denial and no document was included in the
         exhibits as DX-67.

             Accordingly, the court requests that the parties provide a correct copy of
          DX-66, the February 24, 2016 Grievance, and DX-67, the March 28, 2016
          Grievance Denial, at the Pretrial Conference on Monday, March 19, 2018.

      2. Plaintiff’s social security number appears in DX-38. It is my policy that all social
         security numbers be redacted from all exhibits that could be presented to the
         jury.

              Accordingly, the court requests that the parties undertake a comprehensive
          review of each exhibit and affirm by Monday, March 19, 2018 that all social
          security numbers have been redacted from every exhibit. The parties may
          affirm this in court at the pretrial conference or in writing in a letter filed on the
          docket through ECF. Further, the parties will redact the social security numbers
          from the exhibits they identify, and produce new copies of those exhibits to the
          court at the pretrial conference.

       If you have any questions, please contact my case manager, Mr. Steve Taronji, at
(212) 264-1611.

                                                       Sincerely,

                                                    /s/ Claire R. Kelly
                                                   Claire R. Kelly, Judge
